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                           UNITED STATES DISTRICT COURT
                            DISTRICT OF MASSACHUSETTS


Drew Katz and Melissa Silver, individually
and as the co-Personal Representatives of the
Estate of LEWIS A. KATZ, deceased,

                      Plaintiffs,
               v.

SPINIELLO COMPANIES, et al.,

                      Defendants.
                                                  Civil Action No.: 16-11380 (DJC)(DLC)

SK TRAVEL, LLC, et al.,

                      Third-Party Plaintiffs,
               v.

UNITED STATES OF AMERICA,

                      Third-Party Defendant.


                    JOINT STATEMENT AND PROPOSED AGENDA FOR
                          APRIL 30, 2018 STATUS CONFERENCE

       The Parties respectfully submit this Joint Statement and Proposed Agenda (“Joint

Statement”) in advance of the status conference set for April 30, 2018 at 11:30 a.m.

I.     MOTION PRACTICE

       During the status conference, the Court is scheduled to hear oral argument on two

motions:

       (1) The de Vries Estate’s Motion for Leave to File a Second Amended Answer to Assert

Crossclaims against Defendants Gulfstream Aerospace Service Corporation and Arizin Ventures,

LLC (“de Vries Estate’s Motion for Leave”) [ECF No. 294]; and

       (2) The McDowell Estate’s Motion for Leave to File a Second Amended Answer to
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Assert Crossclaims against Defendant Arizin Ventures, LLC (“McDowell Estate’s Motion for

Leave”) [ECF No. 317].

         There are two additional motions on the Court’s docket for which briefing has been

stayed until the Court decides the de Vries Estate’s and the McDowell Estate’s Motions for

Leave:

         (1) Plaintiffs’ Motion to Voluntarily Dismiss Defendant Gulfstream Services pursuant to

Fed. R. Civ. P. 41(a)(2) [ECF No. 293]. Oppositions to this motion are due fourteen (14) days

after the Court issues a decision on the de Vries Estate’s Motion for Leave. See ECF No. 309.

         (2) Gulfstream Services’ Motion for Summary Judgment [ECF No. 302]. Oppositions to

this motion are due within twenty-one (21) days after the Court issues a decision on the de Vries

Estate’s Motion for Leave. See ECF No. 322.

II.      STATUS OF DISCOVERY

         A. Status Conference with Judge Cabell

         As discussed at the February 12, 2018 status conference, the Parties have been in contact

with Judge Cabell to discuss their ongoing discovery dispute about the Defendants’ First Set of

Requests for Production of Damages Documents Directed at Plaintiffs (“RFPs”). Defendants

served a Joint Motion to Compel Plaintiffs’ Production of Damages Documents on April 17,

2018, and requested Judge Cabell’s guidance and rulings on the appropriate scope of damages

discovery.1 Plaintiffs’ opposition to the Defendants’ Motion to Compel is due on April 24, 2018.

The Parties will appear before Judge Cabell on April 30, 2018 at 10:00 a.m. to discuss the

discovery issues in dispute.




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  With Judge Cabell’s permission, the Defendants submitted their motion papers by hand delivery to
Judge Cabell’s chambers and emailed copies of the same to Plaintiffs’ counsel of record.
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       B. Deadlines for Fact and Expert Discovery

       The current deadlines for fact and expert discovery are August 6, 2018 and December 15,

2018, respectively. The Parties disagree about whether these deadlines remain appropriate and

will be prepared to discuss this issue following the status conference with Judge Cabell.

III.   PROPOSED AGENDA

       The following is a list of proposed topics for discussion at the April 30, 2018 status

conference:

       1. Oral argument on the de Vries Estate’s and the McDowell Estate’s respective
          Motions for Leave;

       2. Report on the Parties’ April 30 status conference with Judge Cabell;

       3. Discuss the need to involve Judge Cabell in managing the discovery process;

       4. Discuss the current fact and expert discovery deadlines; and

       5. Schedule the next status conference.

Dated: April 23, 2018

Respectfully submitted,

PLAINTIFFS, Drew Katz and Melissa Silver,            SHELLY DE VRIES, in her capacity as
individually and as the co-Personal                  Personal Representative of the ESTATE OF
Representatives of the Estate of LEWIS A.            BAUKE DE VRIES
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By their attorneys,
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By its attorneys,                               By its attorneys,

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                                CERTIFICATE OF SERVICE

        I certify that, on April 23, 2018, this document filed through the ECF system will be sent
electronically to the registered participants identified on the Notice of Electronic Filing (NEF),
and paper copies will be sent to those indicated as non-registered participants.

                                                    /s/ Christopher R. Christensen
                                                    Christopher R. Christensen




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